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US DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
Henok A. Mengesha
v. 1:19-cv-03304
Benidia Rice et al Judge: Jackson, Amy Berman
Motion for reconsideration
Plaintiff requests the court to reconsider the order because it was contrary to the
allegations and evidence that were presented to the court and the court misinterpreted
plaintiff's allegations. Plaintiff has properly alleged that the defendants violated federal laws.
The court has jurisdiction of the causes of action that arose solely under federal law. The court’s
finding that | had and have enough post-deprivation due process does not address the pre-
deprivation violations of due process and its damages. Plaintiff has made a proper claim for
injunctive relief and properly alleged damages against the defendants in their official and
individual capacity. For the reasons above, the allegations in the complaint and other filings,
plaintiff respectfully requests that the court reconsider its analysis of the case and vacate its
final order.
Summary of the arguments
Plaintiff's main allegation is the violation of due process prior to the taking of property
that is $17k and $150K and the reporting to federal agencies without the due process and
without valid court orders as required by federal laws. Federal law prohibits any negative
actions by the defendants against plaintiff prior to the meeting of certain conditions as
specified in federal child support laws. The plaintiff's allegation which was found to be true by

office of the administrative hearings (OAH) is that the defendants withheld funds hased.an an
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Angela D. Caesar, Clerk of Court
US. District Court, District of Columbla
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order that was paid off and dismissed. In order to withhold such funds, the defendants had to
report to the federal agencies that permitted the defendants to withhold funds based on an
order that was paid in full, vacated and dismissed. This action violated my federal child support
laws. | have alleged that | was damaged by the withholding of the funds and | can prove my
damages. | have alleged that the reporting to the federal offset program based ona dismissed
case caused me damages. | have also alleged that federal law prohibits the attachment of my
retirement accounts without a specific order and that | have been damaged by the district’s and
defendant’s actions. | have properly sought to restrain the defendants based on federal law
that they cannot continue to report to the federal offset program based on a dismissed and
vacated case, without a valid court order and while holding $180k which is $20k above alleged

arrears. All these allegations and causes of action is properly in front of this court.

Arguments

I. Plaintiff did not fail to state a claim that he has been deprived of due process

under section 1983.

On page 6 of its order, the court stated,

“Here, the private interest affected by the writ of attachment is purely economic. So while
plaintiff may have an important protected property interest in his savings, it is an interest that
can *11 be fully refunded if it was taken in error. As for the process that was afforded, plaintiff
was given notice of OAH's calculations of the amounts he owed in child support, and a review
of the complaint shows that he not only had the opportunity to challenge the resulting writ of

attachment, but he did so robustly. Indeed, OAH rendered a decision in plaintiff's favor in 2019
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and ordered the funds released to him. 2019 OAH Final Order at 23. The mere fact that CSSD
has exercised its right to appeal the decision ordering that the funds be returned does not
support a claim that due process has been or will be denied; plaintiff has provided no evidence
that he will be unable to participate fully in that proceeding.”

“Therefore, the Court concludes that plaintiff has failed to state a claim for a deprivation of his
property without due process because it is plain from the face of the complaint and the public
records of the proceedings he describes in the complaint that plaintiff has had and *12 will
continue to have multiple opportunities to challenge the District's efforts to enforce his child
support obligations.”

The courts position that | will be fully refunded does not make plaintiff whole. The fact
that there is post-deprivation process does not make the pre-deprivation due process violation
and its associated damages legal and/or make plaintiff whole. To the contrary, | continue to
suffer and the damages have not been made whole. | have properly alleged that the
Defendants violated my pre-deprivation due process and that | was damaged by the defendants
regardless if the defendants made a mistake or an error. | have to be able to proof my damages
to the jury. "An essential principle of due process is that a deprivation of life, liberty, or
property 'be preceded by notice and opportunity for hearing appropriate to the nature of the
case." Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985), quoting Mullane v. Central
Hanover Bank & Tr. Co., 339 U.S. 306, 313 (1950). The government must provide "the
opportunity to be heard ‘at a meaningful time and in a meaningful manner.'" Mathews, 424

U.S. at 333, quoting Armstrong v. Manzo, 380 U.S. 545, 552 (1965).
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After my property is taken without due process, and after the reporting to federal
agencies that restricted my freedom, and then | am given the opportunity to fight to get my
property and my freedom- is precisely what the due process was meant to protect prior to the
actions taken by the defendants. Due process must precede the actual taking and reporting.
Federal law on child support is clear and unambiguous in regards to the due process
requirements prior to the taking of a negative action.

Due process requires “that an individual be given an opportunity for a hearing before he
is deprived of any significant property interest.” Boddie v. Connecticut, 401 U.S. 371, 379
(1971). This rule has limited exceptions for when applying it would be unworkable, but those
exceptions are narrow and are triggered only by a true exigency—not mere inconvenience. The
general rule, of course, is that absent an ‘extraordinary situation’ a party cannot invoke the
power of the state to seize a person’s property without a prior judicial determination that the
seizure is justified.”); Brock v. Roadway Exp., Inc., 481 U.S. 252, 261-62 (1987) (plurality) (“[T]he
Court has upheld procedures affording less than a full evidentiary hearing if some kind of a
hearing ensuring an effective initial check against mistaken decisions is provided before the
deprivation occurs, and a prompt opportunity for complete administrative and judicial review is
available.” Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985) (quoting Boddie, 401
U.S. at 379).

These decisions make clear that where, as here, the defendants are confiscating
property and reporting to federal agencies pursuant to an established procedure or statutes
controlled by federal law, it must provide some form of process in advance; they did not.

Plaintiff has properly stated a claim and respectfully requests the court to vacate its order.
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II. Plaintiff did not fail to state claims against the named defendants in their

individual capacities.

Here the court finds that plaintiff did not allege against the defendants in their
individual capacity. My complaint referred to all named defendants as “defendants”. The term
included all defendants in their official capacity and individual capacity. | have specifically
alleged that , “the defendants violated a statutory right and constitutional right of due process,
and that my rights were clearly established at the time of the defendants conduct.” “persons
acting under color of law,” which has long been interpreted by this Court in the 42 U. S.C.
§1983 context to permit suits against officials in their individual capacities, Memphis
Community School Dist. v. Stachura, 477 U. S. 299, 305-306. Pp. 3-5. Persons may sue and
obtain relief “against a government,” which is defined to include “a branch, department,
agency, instrumentality, and official (or other person acting under color of law) ....” The phrase
“gersons acting under color of law’ draws on one of the most well-known civil rights statutes:
42 U.S. C. §1983. That statute applies to “person[s] ... under color of any statute,” and this
Court has long interpreted it to permit suits against officials in their individual capacities. See
Memphis Community School Dist. v. Stachura, 477 U. S. 299, 305-306, and n. 8 (1986). In the
context of suits against Government officials, damages have long been awarded as appropriate
relief. This Court had interpreted the modern version of §1983 to permit monetary recovery
against officials who violated “clearly established” federal law. E.g., Procunier v. Navarette, 434
U. S. 555, 561-562 (1978); Siegert v. Gilley, 500 U. S. 226, 231 (1991). There is no doubt that

damages claims have always been available under §1983 for clearly established violations of

the First Amendment. See, e.g., Sause v. Bauer, 585 U. S. (2018) (per curiam). This court’s
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findings is not supported by the allegations and evidence presented and the plaintiff
respectfully request that the court reconsider its decision.

Hh. Count one, two, four and five are properly in front of the federal court

Each count/claim specifically alleges that federal laws that protected my rights were
violated and | have a right to redress through the federal courts for causes of action that arose
based on federal law. The allegation that federal law was violated was repeated over 53 times
in the complaint. Under Article Ill of the Constitution, federal courts can hear "all cases, in law
and equity, arising under this Constitution, [and] the laws of the United States..." US Const, Art
IIL Sec 2. The Supreme Court has interpreted this clause broadly, finding that it allows federal

courts to hear any case in which there is a federal ingredient. Osborn v. Bank of the United

 

States, 9 Wheat. (22 U.S.) 738 (1824). This statute gives federal courts jurisdiction only to those
cases which “aris[e] under" federal law. 28 USC 1331. Therefore, this court has jurisdiction over
count one, two, four and five. Even if the court did not have jurisdiction, it should exercise its
discretionary supplemental jurisdiction because the entire suit arises from the federal child
support laws and not state law.

IV. Count VII-Preliminary and permanent injunction

| had requested for permanent and preliminary injunction to prevent the defendants
from reporting to federal offset programs including all the other programs under Federal offset
programs unless they have an order from DC superior court to withhold income and to remove
reporting to such agencies under the order that was paid in full, vacated and dismissed. All
conditions for reporting must be met prior to reporting. A dismissed and paid off case is one of

those cases that cannot be reported.
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This court found that the defendants made an administrative error. However, the
defendants did not correct the error by removing or reversing the reporting based on order
that was dismissed and vacated and based on orders that did not permit the defendants to
report. | have properly alleged damages due to this reporting to federal agencies that violated
federal child support laws.

The defendants have refused to correct their errors and reporting to federal agencies
even after they are withholding over $180k which is $20k more than the alleged balance. As a
direct result, | have suffered and will continue to suffer unless this court issues a restraining
order. | have properly requested a relief for injunction, the only remedy that will halt the
defendants is a restraining order. This court should grant that relief. The office of administrative
hearing (OAH) , even though it ordered my funds that were illegally taken to be returned, the
OAH cannot issue injunctions.

Vv. Refund of funds and other relief

The refund of funds is properly before this court as the Office of administrative hearing
cannot issue money judgements. OAH has found that the District must return the funds; the
district has refused. The district’s motion to reconsider that was filed in OAH was denied as a
matter of law. Therefore, this court can issue a judgement for the funds that plaintiff can collect
directly from the defendants.

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Certificate of Service

I certify that a true copy of the foregoing and attached was mailed through regular mail and
delivered to Defendant’s 12/24/2020

bn

12-I- defendants did not respond to the consent to file this motion

—e KIN

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District of columbia

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